EXHIBIT 6
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                Supreme Court of the State of New York
              Appellate Division:     Judicial Department
                               Informational Statement (Pursuant to 22 NYCRR 1250.3 [a]) - Civil




   Case Title: Set forth the title of the case as it appears on the summons, notice of petition or order to       For Court of Original Instance
   show cause by which the matter was or is to be commenced, or as amended.

  Mei  Chu, Sau  Chung, Qun  Ling

                                                 Plaintiffs,
                                                                                                                      Date Notice of Appeal Filed
                      - against -
  Chinese-American Planning Council Home Attendant Program, Inc.,
                                                                                                                      For Appellate Division
                                         Defendant.



                 Case Type                                                                  Filing Type


    Civil Action                             CPLR article 78 Proceeding  Appeal                                     Transferred Proceeding
    CPLR article 75 Arbitration              Special Proceeding Other  Original Proceedings                             CPLR Article 78
                                              Habeas Corpus Proceeding      CPLR Article 78                              Executive Law § 298
                                                                                      Eminent Domain                    CPLR 5704 Review
                                                                                      Labor Law 220 or 220-b
                                                                                      Public Officers Law § 36
                                                                                      Real Property Tax Law § 1278


   Nature of Suit: Check up to  of the following categories which best reflect the nature of the case.

    Administrative Review               Business Relationships             Commercial                   Contracts
    Declaratory Judgment                Domestic Relations                 Election Law                 Estate Matters
    Family Court                        Mortgage Foreclosure               Miscellaneous                Prisoner Discipline & Parole
    Real Property                       Statutory                          Taxation                     Torts
   (other than foreclosure)




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                                                            Appeal
  Paper Appealed From (Check one only):                         If an appeal has been taken from more than one order or
                                                                judgment by the filing of this notice of appeal, please
                                                                indicate the below information for each such order or
                                                                judgment appealed from on a separate sheet of paper.
   Amended Decree                       Determination             Order                    Resettled Order
   Amended Judgement                    Finding                   Order & Judgment         Ruling
   Amended Order                        Interlocutory Decree      Partial Decree           Other (specify):
   Decision                             Interlocutory Judgment  Resettled Decree             Decision & Order on Motion
   Decree                               Judgment                  Resettled Judgment
  Court:               Supreme Court                                  County:         New York
  Dated:             02/09/2021                                       Entered:  02/9/2021
  Judge (name in full): Hon. Carol R. Edmead                          Index No.: 653250/2017
  Stage:  Interlocutory  Final  Post-Final                         Trial:  Yes  No If Yes:  Jury  Non-Jury
                                         Prior Unperfected Appeal    Information

  Are any appeals arising in the same action or proceeding currently pending in the court?                Yes  No
  If Yes, please set forth the Appellate Division Case Number assigned to each such appeal.
                   2020-04603
  Where appropriate, indicate whether there is any related action or proceeding now in any court of this or any other
  jurisdiction, and if so, the status of the case:
  There is a related action in the Southern District of New York styled Chan v. Chinese-American Planning
  Council Home Attendant Program, Inc., No. 15-cv-09605 (LGS).

                                                      Original Proceeding

  Commenced by:  Order to Show Cause  Notice of Petition  Writ of Habeas Corpus              Date Filed:
  Statute authorizing commencement of proceeding in the Appellate Division:

                                       Proceeding Transferred Pursuant to CPLR 7804(g)
  Court:                Choose Court                           County:               Choose County
  Judge (name in full):                                        Order of Transfer Date:
                                              CPLR 5704 Review of Ex Parte Order:
  Court:                Choose Court                           County:               Choose County
  Judge (name in full):                                        Dated:
                           Description of Appeal, Proceeding or Application and Statement of Issues
  Description: If an appeal, briefly describe the paper appealed from. If the appeal is from an order, specify the relief
  requested and whether the motion was granted or denied. If an original proceeding commenced in this court or transferred
  pursuant to CPLR 7804(g), briefly describe the object of proceeding. If an application under CPLR 5704, briefly describe the
  nature of the ex parte order to be reviewed.
  Defendant/Appellant ("CPC") appeals a Decision and Order granting Plaintiff's application for leave to
  reargue, granting restoration of this action (which was previously dismissed) to active status and granting
  leave for Plaintiffs to amend their complaint more than four years after Plaintiffs were on notice of the
  deficiency in their pleading.
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  Issues: Specify the issues proposed to be raised on the appeal, proceeding, or application for CPLR 5704 review  
               
  On appeal, CPC will argue that:
  1. The Supreme Court erred in restoring this case to the active calendar because the reason it was
  stayed (and then dismissed) is the pendency of another overlapping litigation. That litigation is still
  pending, meaning that CPC will be forced to defend the same claims in two fora simultaneously.
  2. The Supreme Court erred in permitting Plaintiffs to amend their complaint nearly five years after the
  action was first filed, and more than four years after Plaintiffs were first put on notice of the defect in their
  complaint that they now seek to cure.




                                                               Party Information




  Instructions: Fill in the name of each party to the action or proceeding, one name per line. If this form is to be filed for an
  appeal, indicate the status of the party in the court of original instance and his, her, or its status in this court, if any. If this
  form is to be filed for a proceeding commenced in this court, fill in only the party’s name and his, her, or its status in this
  court.

   No.                              Party Name                                     Original Status        Appellate Division Status
    1     Mei Chu                                                          Plaintiff                   Respondent
    2     Sau Chung                                                        Plaintiff                   Respondent
    3     Qun Ling                                                         Plaintiff                   Respondent
    4     Chinese-American Planning Council Home Attendant Program, Inc.   Defendant                   Appellant
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                                                        Attorney Information

       Instructions: Fill in the names of the attorneys or firms for the respective parties. If this form is to be filed with the
       notice of petition or order to show cause by which a special proceeding is to be commenced in the Appellate Division,
       only the name of the attorney for the petitioner need be provided. In the event that a litigant represents herself or
       himself, the box marked “Pro Se” must be checked and the appropriate information for that litigant must be supplied
       in the spaces provided.

       Attorney/Firm Name: Michael Taubenfeld / Fisher Taubenfeld LLP
       Address: 225 Broadway, Suite 1700
       City: New York                     State: NY                 Zip: 10007             Telephone No: 212-571-0700
       E-mail Address: michael@fishertaubenfeld.com
       Attorney Type:             Retained  Assigned  Government                     Pro Se     Pro Hac Vice
      Party or Parties Represente (set forth party number(s) from table above:         Nos. 1, 2, 3
      Attorney/Firm Name: S. Tito Sinha / Takeroot Justice
       Address: 123 William Street, 16th Floor
       City: New York                     State: NY                 Zip:10038              Telephone No: 212-810-6744
       E-mail Address:  tsinha@takerootjustice.org
       Attorney Type:             Retained  Assigned  Government                     Pro Se     Pro Hac Vice
      Party or Parties Represented (set forth party number(s) from table above:         Nos. 1, 2, 3
      Attorney/Firm Name: Kenneth Kirschner / Hogan Lovells US LLP
       Address: 390 Madison Avenue
       City: New York                     State: NY                 Zip: 10017             Telephone No: 212-918-3000
       E-mail Address: kenneth.kirschner@hoganlovells.com
       Attorney Type:             Retained  Assigned  Government                     Pro Se     Pro Hac Vice
      Party or Parties Represented (set forth party number(s) from table above:          No. 4
      Attorney/Firm Name: David Baron / Hogan Lovells US LLP
       Address: 390 Madison Avenue
       City: New York                     State: NY                 Zip:10017              Telephone No: 212-918-3000
       E-mail Address: david.baron@hoganlovells.com
       Attorney Type:             Retained  Assigned  Government                     Pro Se     Pro Hac Vice
      Party or Parties Represented (set forth party number(s) from table above:          No. 4
      Attorney/Firm Name:
       Address:
       City:                              State:                    Zip:                   Telephone No:
       E-mail Address:
       Attorney Type:             Retained  Assigned  Government                     Pro Se     Pro Hac Vice
      Party or Parties Represented (set forth party number(s) from table above:
      Attorney/Firm Name:
       Address:
       City:                              State:                    Zip:                   Telephone No:
       E-mail Address:
       Attorney Type:             Retained  Assigned  Government                     Pro Se     Pro Hac Vice
      Party or Parties Represented (set forth party number(s) from table above:

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